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 4   Attorney for Defendant
     WALDO PEREZ-MENDOZA
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 8                                          UNITED STATES DISTRICT COURT

 9                                         EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                                    Case No.: 2:11-CR-076 JAM

12                      Plaintiff,

13   vs.                                                          STIPULATION AND ORDER CONTINUING
                                                                  STATUS CONFERENCE AND EXCLUDING TIME
14   WALDO PEREZ-MENDOZA,                                         UNDER THE SPEEDY TRIAL ACT

15                      Defendant.                                Date:       September 30, 2014
                                                                  Time:       9:30 a.m.
16                                                                Court:      Hon. John A. Mendez

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              This matter is presently set for a status conference before the Court on September 30, 2014. The parties to
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     this action, Plaintiff United States of America by and through Assistant United States Attorney Samuel Wong, and
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     Defendant Waldo Perez-Mendez by and through his attorney Todd D. Leras, request that the Court continue the
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     status conference to October 21, 2014, at 9:30 a.m. The parties anticipate that at that time the matter will either
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     resolve or be set for jury trial.
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              This matter was reassigned to this Court following the retirement of Senior United States District Court
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     Judge Lawrence K. Karlton. Mr. Leras was appointed to replace previous counsel on July 17, 2014. Following his
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     appointment, Mr. Leras became aware of matters requiring additional investigation and legal research. He has not
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     ORDER CONTINUING STATUS
28   CONFERENCE
                 Case 2:11-cr-00076-JAM Document 166 Filed 09/29/14 Page 2 of 3


 1   yet completed those matters due in part to language barriers requiring the use of a Spanish interpreter to

 2   communicate with the defendant and prospective witnesses. In addition, this matter involves allegations of a drug

 3   distribution conspiracy stretching from Stanislaus to Tehama Counties. The geographical distance has posed some

 4   difficulty in completing necessary investigation in the approximate two-month period since Mr. Leras was appointed

 5   as replacement counsel.

 6            For the reasons stated in the preceding paragraph, the parties are requesting to continue the status

 7   conference for three weeks to October 21, 2014. They also stipulate and agree that an exclusion of time up to and

 8   including October 21, 2014, is appropriate based on defense counsel’s need for reasonable preparation time.

 9            Assistant U.S. Attorney Samuel Wong has reviewed this proposed order and authorized Todd Leras to sign

10   it on his behalf.

11

12   DATED: September 26, 2014
                                                                     By       Todd D. Leras for
13                                                                            SAMUEL WONG
                                                                              Assistant United States Attorney
14   DATED: September 24, 2014
                                                                     By       /s/ Todd D. Leras
15                                                                            TODD D. LERAS
                                                                              Attorney for Defendant
16                                                                            WALDO PEREZ-MENDOZA

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     ORDER CONTINUING STATUS
28   CONFERENCE
                Case 2:11-cr-00076-JAM Document 166 Filed 09/29/14 Page 3 of 3


 1                                                         ORDER

 2            BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it is hereby ordered

 3   that the status conference in this matter scheduled for September 30, 2014, is vacated. A new status conference is

 4   scheduled for October 21, 2014, at 9:30 a.m. The Court further finds, based on the representations of the parties,

 5   that the ends of justice served by granting the continuance outweigh the best interests of the public and the defendant

 6   in a speedy trial. Time shall be excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(B)(4) and Local Code

 7   T-4, to allow necessary attorney preparation taking into consideration the exercise of due diligence for the period

 8   from September 30, 2014, up to and including October 21, 2014.

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10   DATED: September 26, 2014

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12                                                                /s/ John A. Mendez
                                                               HONORABLE JOHN A. MENDEZ
13                                                             UNITED STATES DISTRICT COURT JUDGE

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     ORDER CONTINUING STATUS
28   CONFERENCE
